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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY




   IN RE: JOHNSON & JOHNSON TALCUM                MDL No. 16–2738 (MAS) (RLS)
   POWER PRODUCTS MARKETING, SALES
   PRACTICES, AND PRODUCTS LIABILITY
   LITIGATION                                     Return Date: February 5, 2024




  DEFENDANT JOHNSON & JOHNSON’S OPPOSITION TO PLAINTIFFS’
    STEERING COMMITTEE’S MOTION FOR PROTECTIVE ORDER
  REGARDING SUBPOENA DIRECTED AT NORTHWELL HEALTH, INC.



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        Defendant Johnson & Johnson (“J&J”) submits this brief in opposition to the

  Plaintiffs’ Steering Committee’s (“PSC”) Motion For Protective Order Regarding

  Subpoena Directed At Northwell Health, Inc. (“Northwell”).

                                   INTRODUCTION
        J&J’s subpoena seeks two short documents containing highly relevant, non-

  confidential information which would be no burden to produce. The only reason the

  PSC wants to block the subpoena is because the information damages their case—

  in which case, the relevance of the documents is indisputable.

        Multiple Plaintiffs’ experts in this litigation rely on an article written by Dr.

  Jacqueline Moline called Mesothelioma Associated with the Use of Cosmetic Talc

  (“Moline 2020”). Dr. Moline—while not an expert here—is a repeat plaintiff-side

  expert in cosmetic talc litigation.

        Moline 2020 is a “case series” not of Dr. Moline’s patients, but of 33 plaintiffs

  who developed mesothelioma and brought lawsuits alleging that talcum powder was

  the cause. Dr. Moline served as an expert witness in all of their cases. The article

  rests on the central premise that “[t]alcum powder usage was the only source of

  asbestos for all 33 cases.” Ex. 1, Article at 11. In other words, it will be used in an

  attempt to demonstrate that asbestos is present in cosmetic talc, since that is

  supposedly the only way to explain how the individuals in Moline 2020 developed

  mesothelioma.



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           But that article’s central premise is simply false. Although Dr. Moline

  anonymized the subjects of her article, J&J believes it has been able to match some

  individuals in the article with talc litigation plaintiffs who were exposed to asbestos

  from non-talc sources. For example, Case #17 in Moline 2020 appears to be plaintiff

  Helen Kohr. But Dr. Moline’s own expert report from Ms. Kohr’s case stated that

  Ms. Kohr was exposed to asbestos from smoking asbestos-containing cigarettes for

  years:




  Ex. 2, Moline Kohr Rpt. at 17.

           The concept that asbestos “must” be present in the talc because that is the only

  explanation for these individuals’ mesotheliomas is just not true. But it is nearly

  impossible to prove that Ms. Kohr is, in fact, Case #17 because Dr. Moline and

  Northwell (her employer) have concealed the identities of the article’s plaintiff-

  subjects. Dr. Moline also wrote a second, similar article with the same problems in

  2023. Ex. 3 (“Moline 2023,” and together with Moline 2020, the “Articles.”). The

  PSC’s experts rely on the 2023 Article as well.

           J&J therefore subpoenaed Northwell for two documents: simply, the two lists

  of names identifying the individuals in Dr. Moline’s Articles. This information is


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  necessary for J&J to defend itself against the arguments Plaintiffs will present

  through these bogus “studies.”

        The PSC’s motion for a protective order seeking to block J&J from even

  discovering this critical information should be denied.

        The PSC Does Not Assert Its Own Interests. The PSC improperly based its

  motion for a protective order on the interests of others. It claims that someone else

  will face a burden, and that someone else is being harassed, and that someone else’s

  privacy is at issue. Even when raising arguments based on lack of relevance, a party

  must show that its “own interest is jeopardized by discovery sought from a third

  person.” Wright and Miller § 2035 (emphasis added). The PSC has not identified

  any of its own interests that would be jeopardized, nor could it. This Court should

  deny the PSC’s motion for that reason alone. Yet even if the Court were to reach the

  merits of the PSC’s motion, it should nevertheless be denied.

        The Information Sought Is Relevant. The PSC is wrong to argue that the

  Articles are irrelevant because they concern mesothelioma rather than ovarian

  cancer. Their own experts rely on them. The Articles will be used to support the

  PSC’s arguments that cosmetic talc products, including Johnson’s Baby Powder,

  contain asbestos—a central and hotly disputed issue in this case. The only way for

  J&J to demonstrate that the Articles are false is with the identities of the plaintiffs




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  who make up those Articles. The subpoena therefore seeks highly relevant

  information.

        No Privacy Interests Are At Play. The subpoena does not implicate any

  privacy interests. All the individuals in the Articles filed lawsuits publicly

  announcing that they had developed mesothelioma and that they believed exposure

  to cosmetic talc contributed to the development of that mesothelioma. So the only

  information J&J seeks is which public litigation cases the Articles considered in

  conducting their analyses. The PSC has identified no legal basis for any

  confidentiality in the identity of these plaintiffs.

        Northwell Faces No Burden. Even if the PSC were able to raise Northwell’s

  “burden,” it is not remotely plausible that Northwell would bear any burden at all.

  And the PSC submitted no evidence to support their argument. Northwell would

  merely need to produce two short documents. A lower burden to comply with a

  subpoena could not exist.

        This Court should deny the PSC’s motion for a protective order.

                                     BACKGROUND

  Dr. Moline: Plaintiffs’ Expert Witness

        Dr. Moline is an expert witness who testifies on behalf of the mass tort

  asbestos plaintiffs’ bar. She has been testifying as a paid expert in asbestos litigation

  for over 20 years, always on behalf of plaintiffs. Ex. 4, Moline Blinkinsop Tr.



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  178:25-27, 179:8-11. For playing that role, she is paid between approximately

  $250,000 and $300,000 per year (about 40% of her total income) and, in aggregate,

  has received over $3 million. Ex. 5, Moline Teuscher/Etheridge Dep. 30:12-17; Ex.

  6, Moline Young Dep. 35:7-14; Ex. 7, Moline Allen Dep. 211:1-11.

  Dr. Moline Publishes Her Article.

        Dr. Moline is the lead author of Mesothelioma Associated with the Use of

  Cosmetic Talc (“Moline 2020”). Ex. 1. It is a “case series” of 33 individuals who

  brought lawsuits alleging that talcum powder caused their mesothelioma. In other

  words, the 33 individuals are all plaintiffs in litigation where Dr. Moline served as

  their expert witness. Ex. 8, Moline Zimmerman Dep. 43:23-44:2.1 Notably, however,

  Dr. Moline did not disclose the names of the 33 individuals featured in Moline 2020

  and has gone to extreme lengths to conceal those individuals’ identities.

        In the article, Dr. Moline expressly represents multiple times that “[t]alcum

  powder usage was the only source of asbestos for all 33 cases.” Ex. 1, Moline 2020

  at 11; see also id. at 11 (“Objective: To describe 33 cases of malignant mesothelioma

  among individuals with no known asbestos exposure other than cosmetic talcum

  powder.”); id. at 14 (“[W]e present 33 cases, predominantly of women, who had no



  1
    Dr. Moline likely originally published the Article to circumvent numerous court
  rulings precluding her from discussing plaintiffs in other cases. See Composite Ex.
  9, Collection of Orders; see also Ex. 10, Moline Herford Tr. 1542:12-27 (attempting
  to discuss her other cases for the first time).

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known exposure to asbestos other than prolonged use of talcum powder.”); id. (“The

table identifies talcum powder as the only asbestos exposure.”); id. (“No individual

identified any asbestos exposure apart from contaminated talcum powder from

workplace or household exposures.”); id. (“[N]o known asbestos exposure had

occurred.”).

      She even went so far as to represent that “potential exposures were

considered” but that there was “no identified source apart from the talcum powder.”

Id. Many of the individuals in the Moline 2020 used Johnson’s Baby Powder and

Shower to Shower. Ex. 11, Product Key. The article states that “all forms of asbestos

are recognized as the primary risk factor for malignant mesothelioma.” Ex. 1, Moline

2020 at 11. Because Dr. Moline claims the individuals in her article had no other

exposures to asbestos other than from cosmetic talc, the article purports to support

the PSC’s theory that asbestos is present in J&J and others’ cosmetic talc products.

The Premise Of Dr. Moline’s Article Is False.

      The falsity of Dr. Moline’s Article was first laid bare in September 2022 by a

federal judge in the District Court for the Middle District of North Carolina. Bell v.

Am. Int’l Indus., 627 F. Supp. 3d 520 (M.D.N.C. 2022). It was revealed that the

plaintiff there, Betty Bell, was one of the individuals in Moline 2020. Yet Ms. Bell

“reported to a state agency that she did have another known asbestos exposure”

under criminal penalty for making false statements. Id. at 525 n.2, 530. The court



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stated: “Given the groundbreaking nature of the article and its express premise that

all individuals studied had no known alternative asbestos exposures, the fact that one

of the individuals claimed otherwise has direct bearing on the study’s credibility.”

Id. at 530. The court also “expressed concern about this seeming contradiction” and

stated that its “concern [wa]s magnified considering the influence the article has had

on cosmetic talc litigation nationwide.” Id.

         Since then—based on the limited biographical data provided in Moline

2020—J&J believes it has matched up even more individuals in the article to

litigation plaintiffs with non-talc asbestos exposures, contrary to the article’s central

claim:

           • Case # 17 appears to be plaintiff Helene Kohr. See Ex. 2, Moline Kohr
             Rpt. 3-5, 16-17. Dr. Moline’s own expert report in Ms. Kohr’s case
             stated that “Ms. Kohr was exposed to asbestos from Kent Micronite
             cigarettes, which she smoked from 1952-1956 when crocidolite
             asbestos was used in the filters.” Id. at 17 (emphasis added).2

           • Case #6 appears to be plaintiff Stephen Lanzo. See Ex. 13, Moline
             Lanzo Rpt. at 5, 10, 14-15; Ex. 14, Gordon Lanzo Rpt. Both the plaintiff
             and defense experts found a type of asbestos in Mr. Lanzo’s tissue
             known as crocidolite that indisputably is not present in cosmetic talc—
             definitively demonstrating a non-talc absestos exposure. See Ex. 15,
             Poye Lanzo Rep. at 4; Ex. 16, Sanchez Lanzo Rep. at 3. And there is



2
 Dr. Moline has since written in a response to a letter to the editor that she “identified
one individual with an alternative exposure” who was “exposed to asbestos … from
asbestos-contaminated cigarette filters” and “should not have been included in the
article.” See Ex. 12, Moline Response to Letter to the Editor.


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             ample additional evidence of Mr. Lanzo’s non-talc exposures to
             asbestos.3

          • Case #3 appears to be plaintiff Doris Jackson. See Ex. 20, Moline
            Jackson Rpt. at 3-5. A medical record from her case included a
            handwritten statement that she had been exposed to “[c]eiling pipes
            with degrading insulation” during her more than 30-year career as a
            public school teacher. Id. at 5.

          • Case #4 appears to be plaintiff Valerie Jo Dalis. See Ex. 21, Moline
            Dalis Rpt. at 4, 10. Ms. Dalis submitted an asbestos bankruptcy trust
            claim for $450,000 and collected over $28,000 from the Manville
            Personal Injury Settlement Trust. Ex. 22, Dalis Trust claim at 2; Ex. 23,
            Valerie Dalis Dep 220:1-223:2; Ex. 24, Nicholas Dalis Dep 142:17-
            146:7.
      In short, many individuals in Moline 2020 appear to have non-talc exposures

to asbestos—in direct contradiction to the article’s claim. But proving these plaintiff-

article matches is difficult, if not impossible, without Northwell identifying

definitively who the individuals in Moline 2020 are. And based on the information

uncovered to date, J&J believes there are likely many more examples demonstrating

the falsity of the Article’s premise.

Dr. Moline Publishes A New Article In 2023.

      In response to the Bell decision, Dr. Moline published a new similar paper in

2023 (“Moline 2023”). See Ex. 3. The subjects of Moline 2023 are also all litigation


3
  See, e.g., Ex. 17, Moline Lanzo Tr. 4358:1-11 (Dr. Moline testifying that 60 linear
feet of exposed asbestos pipe was removed from his basement); Ex. 18, Lanzo
Abatement Records (67 bags of friable asbestos waste removed from Lanzo’s middle
school after he was a student); Ex. 19, Lanzo Medical Record at 3 (medical record
showing that Lanzo had history of asbestos exposure when visiting a grandfather as
a child).

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plaintiffs. Id. at 2, 11. And Moline 2023 suffers from the same flaws as Dr. Moline’s

first article. For example, it appears that Case #25 in article is plaintiff Ricardo

Rimondi. See Ex. 25, Moline Rimondi Rpt. at 3, 6. Despite Dr. Moline claiming that

Case #25’s potential for alterative exposures to asbestos was “none,” Ex. 3, Moline

2023 at 5, Mr. Rimondi lived near a plant that purchased asbestos-containing

products, and studies have shown that living next to a plant of that type massively

increases one’s risk of mesothelioma due to asbestos exposure. Ex. 26, Moline

Rimondi Tr. 162:23-163:17, 175:25-176:8, 186:1-188:8. The Rimondi trial resulted

in a full defense verdict. Ex. 27, Rimondi Tr. 87:6-14.

Plaintiffs’ Experts Rely On The Articles, And J&J Subpoenas Northwell.

      In the MDL, multiple Plaintiffs’ experts rely on Dr. Moline’s two Articles.

See Ex. 28, 2023 Rigler Reliance List at 6 (entry 92); Ex. 29, 2023 2d Am. Plunkett

Rpt. at 232; Ex. 30, 2023 Singh Rpt. at 36 (entry 52); see also Ex. 34, 2021 1st Am.

Plunkett Rpt. at 229.

      J&J therefore subpoenaed Northwell, Dr. Moline’s employer. PSC Ex. A. The

subpoena sought only two documents: the keys identifying the individuals in each

of the Articles. Id. at 4 (Schedule A). There is no dispute that a 5-page key for the

Moline 2020 exists and is in Northwell’s possession because Northwell produced it

with redactions in the Bell case. See Ex. 31, Redacted Key. In short, all J&J has

sought is two short lists of names.



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      The PSC filed a motion for a protective order to prevent Northwell from

identifying these individuals, and J&J now opposes that motion.

                                   ARGUMENT
      The PSC must assert its own interests in order to seek a protective order. But

it has not done so. It has only raised the interests of others. This Court can deny the

PSC’s motion for that reason alone. Infra § I.

      Yet even if the Court were to reach the merits, it should permit J&J’s

subpoena. The information sought is highly relevant because Plaintiffs’ experts rely

on the Articles, and they go to a central issue in the case: whether or not asbestos is

present in J&J’s cosmetic talc products. Infra § II. Contrary to the PSC’s

contentions, no privacy interests are at stake. All the plaintiffs that make up the

Articles publicly announced the fact of their mesothelioma—and their claims that

cosmetic talc was the cause—when filing their complaints. Infra § III. Finally, the

subpoena seeks a grand total of two documents, and so is not burdensome at all.

Infra § IV. The PSC’s motion should be denied.

I.    The PSC’s Motion Is Not Based On Its Own Interests.

      The PSC’s motion improperly attempts to assert the interests of others in an

attempt to justify its requested protective order. However, a “party may not ask for

an order to protect the rights of another party or a witness if that party or witness

does not claim protection for himself, but a party may seek an order if it believes its



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own interest is jeopardized by discovery sought from a third person.” Wright &

Miller, Federal Practice & Procedure § 2035 (emphasis added).

       Even if a party may have Rule 26(c) standing to move for a protective order

based on lack of relevance (unlike a motion to quash under Rule 45), Rule 26(c)

requires a party to meet the additional hurdle of demonstrating its own interests are

at stake.

       As courts in this district repeatedly explain: “[A] party can move for a

protective order in regard to a subpoena issued to a nonparty if it believes its own

interests are jeopardized by discovery sought from a third party and has standing

under Rule 26(c) to seek a protective order regarding subpoenas issued to non-parties

which seek irrelevant information.” Aetrex Worldwide, Inc. v. Burten Distribution,

Inc., 2014 WL 7073466, at *4 (D.N.J. Dec. 15, 2014) (emphasis added); see also

Hancock v. Credit Pros Int’l Corp., 2021 WL 2948154, at *7 (D.N.J. July 13, 2021)

(same); Costantino v. City of Atl. City, 2015 WL 12806490, at *3 (D.N.J. Nov. 4,

2015) (same); EEOC v. United Galaxy, 2011 WL 4072039, at *2 (D.N.J. Sept. 13,

2011) (same); Corbi v. Marina Assocs., 2009 WL 10727983, at *1 (D.N.J. July 14,

2009) (same).4



4
  As one court explained, the term “‘standing’ does not supply a proper doctrinal
foundation” for the rule that a party must assert its own interests to object to a
subpoena. Noble Roman’s, Inc. v. Hattenhauer Distrib. Co., 314 F.R.D. 304, 306
(S.D. Ind. 2016).

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      Courts around the country follow the same rule requiring a party to show its

own interests are at stake in order to move for a protective order. As some examples:

      •      “Although a party can move for a protective order in regard to a
             subpoena issued to a non-party, it may do so only if it believes its own
             interests are jeopardized.” Fed. Trade Comm’n v. Noland, 2021 WL
             2187021, at *4 (D. Ariz. May 28, 2021) (internal quotation marks and
             brackets omitted).
      •      “Pitsicalis has not shown how his own interests are jeopardized by
             Judgment Creditors’ requests for documents regarding Purple Haze.”
             Experience Hendrix, L.L.C. v. Pitsicalis, 2022 WL 4596558, at *3
             (C.D. Cal. Sept. 2, 2022) (denying motion for protective order).
      •      “[A] party cannot ask for an order solely to protect the interests of
             another.” Nelson-Ricks Cheese Co., Inc. v. Lakeview Cheese Co., LLC,
             2017 WL 4839375, at *3 (D. Idaho Oct. 26, 2017).
      •      “[A] party may not move for a protective order to protect the interests
             of another, but may move to protect the party’s own interests when
             discovery is sought from another.” Mullen v. Taos Ski Valley, Inc., 2011
             WL 13289858, at *1 (D.N.M. Mar. 16, 2011) (quoting Baicker-McKee,
             Janssen, Corr’s Federal Civil Rules Handbook (2011 ed.)).
      •      “[A] party may move for a protective order to restrict the scope of
             discovery under Rule 26 if it believes its own interests are jeopardized
             by the nonparty subpoenas.” S.R.L. v. Full Speed Ahead, Inc., 2010 WL
             11527270, at *1 (W.D. Wash. Jan. 4, 2010).

      In other words, parties can use a protective order to “protect themselves

against annoyance and embarrassment stemming from purportedly overbroad

subpoenas served on” others. S.R.L. v. Full Speed Ahead, Inc., 2010 WL 11527270,

at *2 (W.D. Wash. Jan. 4, 2010) (emphasis added). But they cannot use a protective

order to assert that others will be annoyed or embarrassed.




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      The PSC cited a single outlier case stating the rule in the disjunctive: that “[a]

party may move for a protective order for a subpoena issued to a non-party if the

party’s interests ‘are jeopardized by discovery from a third party’ or if the discovery

sought from a third party is irrelevant.” Mot. 2 (emphasis added) (citing Rudelli v.

Eli Lilly & Co., 2020 WL 13694732, at *2 (D.N.J. Nov. 13, 2020)). That appears to

simply have been loose phrasing on a nondispositive issue. The question did not

affect the court’s decision in that case because the court found that “the subpoenaed

information [wa]s relevant, and Defendant’s interests [we]re not jeopardized.”

Rudelli, 2020 WL 13694732, at *2 (emphasis added). In fact, even the other case the

PSC cites—United Galaxy—states the rule as an “and,” not an “or.” Mot. 2 (citing

United Galaxy, 2011 WL 4072039, at *2).

      Here, the PSC does not assert its own interests. It contends that the subpoena

will harass others, invade on the privacy interests of others, and will be unduly

burdensome on others. That the information J&J seeks would hurt the PSC’s case

certainly would not represent a valid interest, and that would only mean that the

information at issue is highly relevant and that the PSC’s motion should therefore

be denied outright.

      The PSC has not asserted its own interest preventing the disclosure of the

information, and its motion can be denied for that reason alone.




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II.   The Information Sought Is Relevant.

      Even if this Court were to reach the merits of the PSC’s motion, the two

documents at issue are plainly relevant. The Federal Rules of Evidence define

relevance as having “any tendency to make a fact more or less probable than it would

be without the evidence” if “the fact is of consequence in determining the action.”

Fed. R. Evid. 401. And “[r]elevancy is more liberally and broadly construed at the

discovery stage than at trial.” EEOC v. Friedman Realty Grp., Inc., 2018 WL

10038314, at *4 (D.N.J. Oct. 11, 2018); see also, e.g., Love v. NJ Dept of Corr.,

2017 WL 3477864, at *7 (D.N.J. Aug. 11, 2017) (similar); Williams v. BASF

Catalysts, LLC, 2017 WL 3317295, at *3 (D.N.J. Aug. 3, 2017).

      There can be no question that the information is relevant. Three of Plaintiffs’

experts in this litigation rely on the Articles. See Ex. 28, 2023 Rigler Reliance List

at 6 (entry 92); Ex. 29, 2023 2d Am. Plunkett Rpt. at 232, Ex. 30, 2023 Singh Rpt.

at 36 (entry 52); see also Ex. 34, 2021 1st Am. Plunkett Rpt. at 229. That alone is

sufficient to demonstrate the relevance of the information.

      The PSC’s professed ignorance regarding how the Articles that their own

experts relied on could be relevant should not be credited. See Mot. 4. It does not

matter that the Articles concerned individuals with mesothelioma. The Articles

purport to show that asbestos is present in J&J’s talc—and the PSC contends that

asbestos contributed to the development of the plaintiffs’ ovarian cancers. That is



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why even Dr. Rigler—one of the PSC’s testing experts, not a causation expert—

relied on the Articles. Ex. 28, Rigler Reliance List at 6.

      Moline 2020 states that “all forms of asbestos are recognized as the primary

risk factor for malignant mesothelioma.” Ex. 1 at 11. Dr. Moline then repeatedly

states that the individuals in her Article all developed “malignant mesothelioma” but

had “no known asbestos exposure other than cosmetic talcum powder.” Id. The point

is simple: supposedly the only thing that can explain why these individuals in the

Articles developed mesothelioma is that asbestos is present in talc. And Dr. Moline

even identifies Johnson’s Baby Powder as among the products the individuals used.

Ex. 11, Product Key. In other words, the Articles will be used to attempt to show

asbestos is present in J&J’s talc products.

      The PSC’s allegations that asbestos is present in cosmetic talc is a central and

hotly disputed issue in this litigation. And as a result, demonstrating that these

individuals had other, non-talc exposures to asbestos is critical to explaining how

the Articles do not, in fact, demonstrate the presence of asbestos. This is no mere

fishing expedition. J&J has good reason to believe these non-talc exposures exist but

were ignored given what J&J has been able to uncover to date, as discussed above

(supra at 6-8).

      It is small comfort that the PSC argues that its experts might not present Dr.

Moline’s Articles to jury because “experts often review and consider a wide range



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of materials.” Mot. 4. Nor does anything prevent the PSC from using the Articles

during cross examination.

       In the mesothelioma litigation, because the subjects’ anonymity permits

plaintiffs to discuss the Articles with impunity, plaintiffs have used the Articles to

dramatic effect. For example, an attorney in a cosmetic talc case against J&J asked

the jury during closing argument after discussing the Articles: “How many people

have to die of mesothelioma before this company will say, ‘Okay. Enough’s enough.

We admit it we did it’?” Ex. 32, Johnson Tr. at 10866:2-4. While a mesothelioma

case, it takes no great leap of imagination to envision the of ways the Articles could

be used in a similar vein in the MDL’s ovarian cases. J&J’s defense will be

hamstrung if it is not permitted to respond armed with the truth about these Articles.

       The identities of the plaintiffs in Dr. Moline’s Articles are therefore extremely

relevant to the case to rebut the PSC’s claims that asbestos is present in J&J’s talc

products.

III.   No Privacy Interests Are At Stake.

       No privacy interests are implicated by Northwell identifying the individuals

in the Articles. All the subjects of the Articles are plaintiffs in litigation. Ex. 8,

Moline Zimmerman Dep. 43:23-44:2. They all voluntarily filed public complaints

announcing that they had developed mesothelioma and claiming that their condition

was caused by cosmetic talc.



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      The PSC does not assert any privilege is at issue, but even if any privilege

may once have existed, the plaintiffs in the Articles all filed lawsuits putting their

medical conditions at issue in litigation and therefore waived any confidentiality

claims relating to those conditions. See, e.g., Adegbuji v. Middlesex Cnty., 2004 WL

7334268, at *3 (D.N.J. Aug. 5, 2004) (“[B]y alleging that he has been denied

adequate medical treatment, plaintiff squarely has placed his medical condition at

issue in this litigation and thus he has waived any and all claims of privilege or

confidentiality as to his medical records”).5

      Moreover, Dr. Moline “did not solicit consent” from any individual to be in

her Article. Ex. 33, Moline Wiman Dep. 50:19-24. So no individuals can have any

expectation of privacy. In fact, the reason Dr. Moline had any of these individuals’

medical information in the first place is because they put their medical condition at

issue in litigation and therefore waived any confidentiality claims. As the Bell Court

explained, these individuals “chose to publicly expose the fact of [their]

mesothelioma by filing a complaint.” Bell, 627 F. Supp. 3d at 537.




5
  The same fundamental and obvious concept that confidentiality is waived when
information is disclosed holds true even in very different contexts. In Fourth
Amendment cases, “a person has no legitimate expectation of privacy in information
he voluntarily turns over to third parties” with only limited exceptions. Carpenter v.
United States, 138 S. Ct. 2206, 2216 (2018). “That remains true even if the
information is revealed on the assumption that it will be used only for a limited
purpose.” Id. (internal quotation marks omitted).

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      The PSC cites no law whatsoever prohibiting Northwell from identifying the

individuals of the Articles. To the extent the use of the phrase “protected health

information” may have been a veiled reference to HIPAA (the Health Insurance

Portability and Accountability Act of 1996), Mot. 5, the PSC does not develop the

argument at all, which is therefore waived. See, e.g., New Jersey Bldg. Laborers

Statewide Ben. Funds v. Perfect Concrete Cutting, 2010 WL 2292102, at *1 (D.N.J.

June 2, 2010) (“An undeveloped argument in a brief is waived.”).

      The PSC likely did not address the issue because HIPAA does not apply.

HIPAA only regulates the release of “protected health information” by specific

“covered entities,” which include health plans, health care clearinghouses, and

certain health care providers. 45 C.F.R. § 160.103. “Covered entities” do not include

plaintiffs’ experts in personal injury actions or their medical-legal consulting groups.

These individuals are not Dr. Moline’s patients—they are litigation plaintiffs.

Indeed, in Bell the “Plaintiff concede[d] that the Northwell Document [identifying

the subjects of Dr. Moline’s Article] is not HIPAA protected.” Bell, 627 F. Supp. 3d

at 535. J&J’s subpoena therefore does not implicate any privacy interests.6



6
  While the PSC’s header to Section B also mentions an aim to “annoy” and
“harass” non-parties, it never actually develops this argument. Mot. 5. Nor is it
conceivable how J&J’s subpoena, which seeks only to obtain two documents
relevant to its defense, would impermissibly “annoy” or “harass” anyone,
especially not Northwell, who was ordered to produce one of the documents in
Bell.

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IV.     The Subpoena Is Not Unduly Burdensome.

        The PSC only half-heartedly contends that the subpoena would impose an

undue burden. The PSC instead largely re-hashes its argument that the information

sought is not relevant, which is incorrect for the reasons discussed above.

        The PSC does not claim that it will be burdened. And even assuming the PSC

could assert Northwell’s interests in avoiding a burden, the subpoena is not

burdensome at all. The subpoena sought a whole of two documents: the two keys

identifying the individuals in each of Dr. Moline’s Articles. PSC Ex. A. at 3

(Schedule A). They are merely two lists of names. The key for the first Article is

known to exist in Northwell’s possession and takes up only five pages. See Ex. 31,

Redacted Key. The PSC submits no evidence whatsoever regarding how Northwell

might face a burden. That’s because the truth is this subpoena seeking production of

two documents imposes as low a burden as possible.

        Finally, the PSC uses creative euphemisms to cast aspersions on the timing of

the subpoena. It argues the subpoena was “served shortly before Christmas and with

a return date of January 2, at 10:00am.” Mot. 6. The subpoena is dated December

13, 2023,7 with a return date 20 days later. PSC Ex. A at 1. And shortly after the

subpoena was served, J&J extended the time for Northwell to respond an additional

10 days to January 12, 2024. No harassment is at issue.


7
    The year was incorrectly listed on the subpoena as 2024.

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      Northwell faces no burden at all, much less an undue one, by producing two

documents.

                                CONCLUSION
      This Court should deny Plaintiffs’ Motion for a Protective Order.




Dated: January 22, 2024                     Respectfully submitted,



                                            __________________

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